             Case 4:18-cv-04671-KAW Document 14 Filed 11/20/18 Page 1 of 3



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     Attorneys for Plaintiff
8

9                       UNITED STATES DISTRICT COURT
10
                      NORTHERN DISTRICT OF CALIFORNIA
11

12

13
     ABANTE ROOTER AND PLUMBING, )                   Case No.
14   INC., individually and on behalf of all )
15   others similarly situated,              )       4:18-cv-04671-KAW
     Plaintiff,                              )
16
                                             )       NOTICE OF DISMISSAL OF
17   vs.                                     )       ACTION WITH PREJUDICE AS
                                             )       TO THE NAMED PLAINTIFF
18                                                   AND WITHOUT PREJUDICE AS
      POWERLINE FUNDING LLC,                 )
19   and DOES 1-10, inclusive,               )       TO THE PUTATIVE CLASS
20
     Defendant(s).                           )
21   _________________________________ )
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                                     Notice of Dismissal - 1
             Case 4:18-cv-04671-KAW Document 14 Filed 11/20/18 Page 2 of 3



1          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
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     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
3

4    prejudice as to all of their individual claims and without prejudice as to the claims
5
     of any putative class member. Each party shall bear their own costs and attorneys’
6

7    fees. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for
8
     summary judgment. Accordingly, this matter may be dismissed with prejudice and
9
     without an Order of the Court.
10

11         RESPECTFULLY SUBMITTED this November 20, 2018.
12

13                             By:
14
                                                    /s/Adrian R. Bacon
15                                                    Adrian R. Bacon ESQ.
16
                                                Law Offices of Todd M. Friedman,P.C.
                                                     Attorney For Plaintiff
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                                        Notice of Dismissal - 2
            Case 4:18-cv-04671-KAW Document 14 Filed 11/20/18 Page 3 of 3



1
     CERTIFICATE OF SERVICE
2
     Filed electronically on November 20, 2018 with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on November 20, 2018 to:
6

7    To the Honorable Court, all parties and their Counsel of Record
8

9                                                     By: /s/Adrian R. Bacon
                                                       Adrian R. Bacon ESQ.
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                                      Notice of Dismissal - 3
